                   UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

 THE ESTATE OF NAJEE ALI BAKER,
 by and through his Ancillary
 Administrator, Jemel Ali Dixon;

              Plaintiff,
 v.                                                    Civil Action No. 1:19-cv-00477

 WAKE FOREST UNIVERSITY, a North
 Carolina non-profit corporation and
 institution of higher education; THE PI
 OMICRON CHAPTER OF DELTA
 SIGMA THETA SORORITY, INC., a
 North Carolina unincorporated
 association; RHINO SPORTS &
 ENTERTAINMENT SERVICES, LLC, a
 North Carolina Limited Liability
 Corporation; JOHN DOE OFFICER OF
 THE WAKE FOREST UNVIERSITY
 POLICE DEPARTMENT, individually
 and as an agent of Wake Forest
 University; JOHN DOE SECURITY
 STAFF OF THE WAKE FOREST
 UNIVERSITY POLICE DEPARTMENT,
 individually and as an agent of Wake
 Forest University; JOHN DOE RHINO
 SECURITY STAFF 1–2, individually and
 as agents and employees of Rhino Sports
 & Entertainment Services, LLC;

              Defendants.

                  JOINT NOTICE OF PARTIAL SETTLEMENT

      Now into Court, through undersigned counsel, come Plaintiff Jemel Ali Dixon, as

Ancillary Administrator of the Estate of Najee Ali Baker, and Defendant The Pi Omicron

Chapter of Delta Sigma Sorority, Inc. (“Pi Omicron”), who, jointly and pursuant to LR

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83.3, hereby notify the Court and the Clerk that Plaintiff and Pi Omicron have reached a

settlement in principle to resolve Plaintiff’s claims and the litigation against Pi Omicron.

The settlement in principle applies to Pi Omicron only. Plaintiff’s claims remain active

and pending against all of the other Defendants in this action. Plaintiff and Pi Omicron

will file a Joint Stipulation of Dismissal with Prejudice as to Plaintiff’s claims against Pi

Omicron upon consummation of the terms of the settlement.

Dated: January 29, 2020                       Respectfully submitted,

 /s/ Jeffrey D. Keister                       /s/ Jonathon N. Fazzola
 MCANGUS GOUDELOCK &                          THE FIERBERG NATIONAL LAW
 COURIE, PLLC                                 GROUP, PLLC
 Jeffrey D. Keister                           Jonathon N. Fazzola* – Lead Attorney
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 Counsel for The Pi Omicron Chapter           Email: jfazzola@tfnlgroup.com
 of Delta Sigma Theta Sorority, Inc.          Email: dfierberg@tfnlgroup.com
                                              (*appearing by special appearance)

                                              /s/ Jay H. Ferguson
                                              THOMAS, FERGUSON & MULLINS,
                                              LLP
                                              Jay H. Ferguson
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                                              Counsel for Plaintiff The Estate of Najee
                                              Baker
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                             CERTIFICATE OF SERVICE

       I hereby certify that on this date a true and correct copy of the foregoing was filed

electronically with the Clerk of Court using the CM/ECF system. Service of this filing

will be made on all ECF-registered counsel of record by operation of the Court’s

electronic filing system. Parties may access this filing through the Court’s system.



Dated: January 29, 2020                           Respectfully submitted,

                                                  /s/ Jonathon N. Fazzola
                                                  Jonathon N. Fazzola




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